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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:17CR3105

      vs.
                                                             ORDER
SUE ANN SELLON,

                  Defendants.


      Defendant has moved to continue the pretrial motion deadline, (Filing No.
20), because Defendant and defense counsel need additional time to fully review
the discovery received before deciding if pretrial motions should be filed. The
motion to continue is unopposed. Based on the showing set forth in the motion,
the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 20), is granted.

      2)    Pretrial motions and briefs shall be filed on or before December 22,
            2017.

      3)    Trial of this case is set to commence before the Honorable Richard
            G. Kopf, Senior United States District Judge, in Courtroom 1, United
            States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on January 22,
            2018, or as soon thereafter as the case may be called, for a duration
            of five (5) trial days. Jury selection will be held at commencement of
            trial.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and the additional time arising as a result of the granting of the
            motion, the time between today’s date and December 22, 2017 shall
            be deemed excludable time in any computation of time under the
            requirements of the Speedy Trial Act, because although counsel
            have been duly diligent, additional time is needed to adequately
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          prepare this case for trial and failing to grant additional time might
          result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).
          Failing to timely object to this order as provided under this court’s
          local rules will be deemed a waiver of any right to later claim the time
          should not have been excluded under the Speedy Trial Act.

    October 23, 2017.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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